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STATE OF SOUTH DAKOTA ) IN THE CIRCUIT COURT
: 8S
COUNTY OF MINNEHAHA ) SECOND JUDICIAL CIRCUIT

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STEVE GARRY, ALLISON GARRY,
TRAVIS GARRY and MARK GARRY,

Plaintiffs, — clv.04- Q4 5}

VS. COMPLAINT
AND JURY TRIAL DEMAND

CHARLES BEATCH d/b/a BEATCH
CONSTRUCTION, BEATCH
CONSTRUCTION LLC, KOLBE & KOLBE
MILLWORK CO., INC., and ROBERT E.
SMITHBACK, d/b/a RES
CONSTRUCTION,

Defendants.

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COME NOW THE PLAINTIEFS, Steve Gary, Allison Garry, Travis Garry and Mark

Garry, and for their Complaint against the above-named defendants state the following:

Introduction
1.

This civil action seeks compensation for damages the plaintiffs have suffered from
the unsafe growth and dispersion of mold and mold toxins (“mycotoxins”) in the plaintiffs’ home,
_which directly resulted from the defendants’ acts and omissions, individually and collectively,

described below.

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The Parties
2.

The plaintiffs are four members of the Garry family who, from December 1994
through July 2002 resided at 27207 Fountain Circle, Harrisburg, South Dakota. Steve and Allison
aremarried, and Travis and Mark Garry are two of their sons, now both adults. The Garrys presently
reside in Minnehaha County.

3.

Defendant Charles Beatch, d/b/a Beatch Construction is a home builder in the Sioux
Falls, South Dakota area. Through his company known as Beatch Construction, Charles Beatch
contracted with Steve and Allison Garry to build their Fountain Circle home back in 1994. Beatch
agreed to serve as general contractor for the project, specifically retaining to himself, “exclusively,
_. the direction and supervision of the working forces, including subcontractors.” Beatch did,
indeed, retain and exercise control over all of the work of the subcontractors, in addition to
controlling that work performed directly by Beatch and his employees. Beatch took control of the
building project from start to finish.

1

Beatch Construction LLC is a South Dakota limited liability corporation. Beatch
Construction LLC, formed in 1996, is the direct successor to Charles Beatch, d/b/a Beatch
Construction, and upon its formation agreed, upon information and belief, to assume the rights and
obligations of Charles Beatch, d/b/a Beatch Construction, including any obligations arising from the
construction of the Garry home. Charles Beatch is the agent for service of process for Charles
Beatch, d/b/a Beatch Construction, and Mary A. Beatch is the agent for service of process for Beatch

Construction LLC. Both Charles Beatch, d/b/a Beatch Construction and Beatch Construction LLC

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are headquartered at 2708 Woodland Hills Road, Sioux Falls, South Dakota 57103, located in
“Minnehaha County. |
5.

Kolbe & Kolbe Millwork Co., Inc. is, upon information and belief, a Wisconsin
corporation headquartered at 1323 South 11th Avenue, Wausau, Wisconsin 55401. Kolbe & Kolbe
is in the business of manufacturing and selling windows and, in fact, manufactured, sold and

_ distributed the windows which were installed in the Garry home. Kolbe & Kolberegularly sells and
distributes its windows into South Dakota, promotes its products there, has at least one
distributorship there, and purposely avails itself of the privilege of selling its products in South
Dakota. Its agent for service of process is Michael W. Salsieder, who resides at 8005 Bluebell Drive,
Wausau, Wisconsin 55401-8595. The President of Kolbe & Kolbe is Judith Gorski; Mike Tomsyck
is Treasurer; Bob Kaster is Vice President of Sales and Marketing.

6.

Steven and Corrie McGraw, husband and wife, are the owners of a lot and home
situated directly to the west of the Garrys’ Fountain Circle home. The home was being constructed
in the summer of 2002, and was initially constructed and landscaped in such a way that, on the night
of July 10-11, 2002, it caused an unusual, extraordinary water runoff during a storm directly into the
Garrys’ back yard, flooding the back yard and filling the septic tank and resulting in a sewage back
up into the Garrys’ home, which in turn caused the growth of mold.

| 7.
Robert E. Smithback, d/b/a RES Construction, was the general contractor for the

home owned by the McGraws and, through its acts and omissions, directly contributed to the

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flooding of the Garrys’ back yard and their septic tank/system, causing the sewage back up which
led to additional mold in the Garry home.
Venue
8.

Defendants Charles Beatch, d/b/a Beatch Construction and Beatch Construction LLC
reside in Minnehaha County, making Minnehaha County an appropriate venue under SDCL § 15-5-
6. |

Factual Background
9.

Through the errors and omissions of defendants as well as the Beatch subcontractors,
the Garry home has experienced numerous unhealthy and dangerous water intrusions which have
led to the growth of mold in the home and the dispersion of mold and mycotoxins throughout the
home. These molds and mycotoxins have, all by themselves, caused property damage and personal
jnjuries to the plaintiffs and have rendered the home uninhabitable.

10.

In late 1995 or early 1996, the Garrys’ sewer system backed up through a floor dram
in the lower level utility room, which led to mold growth and which introduced mold and other
microbes into the indoor air within the Garry home. This sewage backup resulted from the errors
and omissions of Charles Beatch and Beatch Construction and its subcontractors.

11.

Sometime between completion of the home in December of 1994 and October 1999,

the toilet in the master bedroom leaked into the ceiling space below, causing water to soak the sheet

rock ceiling in the southwest basement bedroom and run down the west and south sheet rock walls

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and eventually to the floor and along the floor in the southwest basement bedroom. This water leak
was the direct result of errors and/or omissions of Charles Beatch and Beatch Construction and/or
its subcontractors. This water leak led to the growth of molds, and directly resulted in the dispersion
of molds and mycotoxins throughout the home.

12..

Sometime after the Garrys moved into the home, unbeknownst to the Garrys, the
windows in the home began to leak permitting rain water to penetrate the outside of the home and
get into the wall spaces. These water leaks were hidden, and were not detected until sometime in
2003 at the earliest. These window leaks directly resulted from defects in the windows as
manufactured and originally delivered to the Garry home, and were possibly created and exacerbated
by improper installation by Charles Beatch, Beatch Construction and/or Beatch Construction
subcontractors. These water leaks directly resulted in mold growth, and the dispersion of molds and
possibly mycotoxins throughout the home.

13.

Some years after moving into their home, on at least two occasions rain water leaked
into the bay window/credenza in the office on the front side of the home. The source of the leaks
appears to have been near the interface of the siding material and the copper awning over the bay
window in the office. These bay window leaks were the direct result of workmanship errors and
omissions of Charles Beatch and Beatch Construction and/or its subcontractors. These water leaks

likely led to the growth of mold on building materiais which came in contact with the water
produced by the leaks, which in turn likely led to dispersion of mold and mycotoxins throughout the

Garry home.

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14,

Sometime after the Garrys moved into their home, it was discovered that the toilet
tank in the lower level bathroom had a small crack and was leaking water onto the bathroom floor.
This leak was the direct result of the provision of defective materials by Charles Beatch and Beatch
Construction and/or its subcontractors or was the result of improper or rough-handed installation
which damaged the tank. The water from this toilet leak probably led to the growth of mold and the

| dispersion of molds and possibly mycotoxins throughout the Garry home.
15.

On the night of July 10-11, 2004, it rained in the vicinity of the Garrys’ Fountain
Circle home. Next door, construction was wrapping up on the home of Steven and Corrie McGraw.
This home was under construction by Robert E. Smithback, d/b/a RES Construction. The elevation
and topography of the McGraw lot had been altered by Smithback and/or his subcontractors to
accommodate the construction of the home. The home itself was, on July 10, 2002, without gutters
and down spouts. The large driveway leading to the garage had been constructed near the Garrys’
lot ine and was sloped toward a retaining wall that ran north and south along the Garrys’ west
property line. During the rainfall, water poured off the expansive roof of the McGraw home, onto
the driveway, where it flooded toward and over the top of the retaining wall next to the Garrys’
property, then into the Garrys’ back yard, where it flooded the septic tank and septic field and burned
out the septic pump, flooding the Garrys’ basement. In the manner in which the McGraw lot was
altered, the home was constructed, and the driveway uncurbed, it was completely foreseeable to any
residential home builder that a substantial rain would cause extraordinary, unusual run off onto the

Garrys’ lot and into their back yard, creating anuisance. The creation of this nuisance was the direct

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result of errors and omissions of Robert Smithback, d/b/a RES Construction. Robert Smithback,
d/b/a RES Construction was an agent for the McGraws.
16.
The sewage backup which occurred in the Garry home on the night of July 10-11,
2002 caused the growth of mold within the Garry home and introduced microbes, all of which was
unhealthful and contributed to the contamination of the home and contributing to its uninhabitability.
17.

Also, it appears that Charles Beatch, d/b/a Beatch Construction and/or its various
subcontractors either improperly constructed the lower level foundation walls and/or improperly
waterproofed them and/or improperly landscaped the exterior of the home, since rain water appears
to be able to pool against the foundational walls and perhaps find its ways through cracks in the
foundation into the lower level rooms. Additional workmanship defects in the home may yet be
discovered and plaintiffs reserve theright to amend their Complaintto include such additional claims
if and when they are discovered.

Plaintiffs’ Damages
18.
Asadirect result of the errors and omissions and thenuisance described above, Steve,
Allison, Travis and Mark Garry have each suffered personal injuries as a result of exposure to molds
- and/or mycotoxins inside the Fountain Circlehome. The personal injuries sustained include, but are
| not limited to, allergic reactions, sinus problems, respiratory tract illnesses and injuries, skin
. problems, gastrointestinal tract reactions, urinary tract problems, nervous system injury andimmune

system disruption. Some of these injuries and illnesses will be permanent. The Garrys have also

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had to incur medical expenses which were reasonable and necessary to diagnose and treat the various
ilinesses and injuries experienced by them.
19.

The Garrys have also suffered property damages as a direct result of the conduct of
the defendants. These property damages are too numerous to detail here, but include, but are not
limited to, the following general descriptions:

a. The cost of inspecting the house for water damage and mold and assessing

how to render the home habitable again, if that is possible;

b. Diminution in the market value of the home, with or without remediation;

c. The damage to and/or destruction of personal property within the home due

to mold and/or mycotoxin contamination, as well as the cost of disposing of the destroyed
property and auctioning the damaged property;

d. The costs of remediation efforts to date;

e. The cost of reasonable replacement housing for the Garrys since August 2002;

f. The cost of repair and/or replacement of all defective or damaged building

materials, including the foundational wall, any landscaping remediation which must be done,
the replacement and/or repair of any defective windows, sheet rock, carpet and paint
replacement;

g. The cost of cleaning efforts to attempt to salvage items of personal property,

only a very few of which were salvageable;

h. The joss of emotionally valuable or priceless personal property and

memorabilia kept in the home;

i. Engineering and consulting costs to evaluate the mold problem.

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j. Continuing costs of maintaining the home and paying property taxes.
20.

Also, as a direct result of defendants’ conduct, the Garrys have suffered pain and
suffering and mental anguish, and severe emotional distress, and Travis and Mark Garry have
suffered a loss. of earning capacity.

COUNT I
Breach of Implied Warranty of Reasonable Workmanship and Habitability
21,

Included in the contract for the construction of the Garry home was an implied

warranty of reasonable workmanship and habitability.
22.

Charles Beatch, d/b/a Beatch Construction, breached the implied warranty of
reasonable workmanship and habitability in the various errors and omissions described above,
directly resulting in the Garrys’ damages and rendering the home uninhabitable.

23.

Charles Beatch, d/b/a Beatch Construction, is liable to the Garrys for all of those
damages resulting from his breach of the implied warranty of reasonable workmanship and
habitability, whether the breach was the direct result of his own conduct or the errors and/or
omissions of his subcontractors. Beatch Construction LLC is similarly liable as the successor to
Charles Beatch, d/b/a Beatch Construction.

COUNT II

Negligence of Charles Beatch, d/b/a Beatch Construction

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24,

It was foreseeable to Charles Beatch, d/b/a Beatch Construction that, should they fail
to take reasonable care with respect to keeping rain water and sewage from entering the home, the
Garrys and their property might be harmed through exposure to mold and mycotoxins and microbes.
Therefore, Charles Beatch, d/b/a Beatch Construction had a duty to the Garrys to construct the home
so as to make it reasonably safe from harmful rain water and sewage water intrusions. Charles
Beatch and Beatch Construction breached the duty of reasonable care to the Garrys, directly resulting
in the damages sustained by the Garrys described above, and for which Charles Beatch, d/b/a Beatch
Construction is therefore legally liable to the Garrys.

25.

For any negligence by Beatch subcontractors which caused and/or contributed to the
water intrusions and the resulting damages, the subcontractors were agents of Charles Beatch, d/b/a
Beatch Construction, and Beatch and Beatch Construction are therefore liable to the Garrys for the
errors and omissions of such agents. Furthermore, the Garrys are direct third-party beneficiaries of
any oral or written contracts between Charles Beatch, d/b/a Beatch Construction and the Beatch
subcontractors, such that should those subcontracts be breached resulting in the Garrys’ damages,
Charles Beatch, abl a Beatch Construction is nonetheless liable to the Garrys for all of the Garrys’
damages described above. Beatch Construction LLC is similarly liable as the successor to Charles
Beatch, d/b/a Beatch Construction. |

COUNT Til

Breach of Warranty by Kolbe & Kolbe

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26.

The windows supplied by Kolbe & Kolbe for use in the Garry home came with a 10-
year warranty in favor of the ultimate purchaser of windows, in this case the Garrys. The windows
supplied to the Garrys were defective and failed within that 10-year time frame, breaching the
warranty. This permitted water to enter the Garrys’ home and mold to grow, which directly resulted
in the Garrys’ damages described above. Therefore, Kolbe & Kolbe is liable to the Garrys for all
their damages on account of their breach of warranty, express and/or implied.

COUNT IV
Kolbe & Kolbe -- Strict Liability
27.
” As amanufacturer and seller of the windows supplied to the Garrys, the Kolbes had
a duty to design and manufacture and supply windows which were non-defective and not
unreasonably dangerous. At a minimum, this duty required Kolbe & Kolbe to supply windows
which did not leak. Kolbe & Kolbe breached that duty to the Garrys, directly resulting in water
leaks, permittmg rain water to enter the interior of the Garry home and resulting in the growth and
dispersion of mold and/or mycotoxins. This in turn proximately caused the Garrys’ damages
described above. Accordingly, Kolbe & Kolbe is liable in strict liability for supplying defective
windows to the Garrys’ home.
COUNT V
Nuisance by Robert Smithback, d/b/a RES Construction
28.

The McGraws’ agent/home builder, Robert Smithback, d/b/a RES Construction, had

a duty not to cause unreasonable injury to the Garrys’ property through altering the natural flow of

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waters. Failure to act reasonably subjects Smithback/RES Construction to liability to the Garrys for
creating a nuisance. Smithback/RES Construction failed to act reasonably in the construction of the
home and the concrete driveway, insofar as they directed excessive and unusual amounts of water
directly onto the Garry property and into the Garrys’ back yard. This nuisance and breach of duty
directly caused the July, 2002 sewage backup into the Garrys’ home, which resulted in mold growth
atid introduction of microbes, as well as the dispersion of mold and mycotoxins throughout the
home. This caused and/or contributed to the damages to the Garrys described above, rendering this
defendant legally liable to the Garrys for these damages.
COUNT VI
Request for Relief

Therefore, Steve, Allison, Travis and Mark Garry request that the court enter
judgment in their favor, and against all of these defendants, jointly and severally, in such sum as is
needed to fully and fairly compensate the Garrys for all of their damages on account of their personal
injuries and property damages.

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pated: _Novewnd ye , 2004.

JOHNSON, HEIDEPRIEM, MINER, MARLOW &
JANKLOW, L.L.P.

By KA Vanes

Steven M. Johnson
Ronald A. Parsons, Jr.

 

 

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Sioux Falls, South Dakota 57101-1107
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-and-
ROBINS, KAPLAN, MILLER & CIRESI L.L.P.

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ATTORNEYS FOR PLAINTIFFS
TURN TRIAL DEMAND | NOV 05 2004
The plaintiffs respectfully demand a trial by jury on all issues so triablUyinnohahe Ss
Clerk Circuit Court

 

Steven M. Johnson
Ronald A. Parsons, Jr.

   
    

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Minnehaha Count
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